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                 NETFLIX, INC.
         12
                                            UNITED STATES DISTRICT COURT
         13
                                           NORTHERN DISTRICT OF CALIFORNIA
         14
                                                 SAN FRANCISCO DIVISION
         15
                 BROADCOM CORPORATION, et al.,                    Case No. 3:20-cv-04677-JD
         16
                                             Plaintiffs,          DEFENDANT NETFLIX, INC.’S NOTICE
         17                                                       OF MOTION AND MOTION FOR RULE
                       v.                                         37 SANCTIONS
         18
                 NETFLIX, INC.,                                   Date:        July 21, 2022
         19                                                       Time:        10:00 AM
                                             Defendant.           Dept.:       Courtroom 11, 19th Floor
         20                                                       Judge:       Honorable James Donato
         21                                                       Date Filed: March 13, 2020
                                                                  Trial Date: None Set
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             1                                NOTICE OF MOTION AND MOTION

             2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

             3          PLEASE TAKE NOTICE that on July 21, 2022 at 10:00 a.m., or as soon thereafter as

             4   counsel may be heard, in Courtroom 11, 19th Floor, 450 Golden Gate Avenue, San Francisco,

             5   California, Defendant Netflix, Inc. (“Netflix”), by and through its undersigned counsel, will move

             6   the Honorable James Donato for (1) an order directing Broadcom Corporation and Avago

             7   Technologies International Sales PTE Limited (collectively, “Plaintiffs”) to produce all licenses

             8   to the Patents-in-Suit, or, alternatively, to make the licenses available for Netflix’s review

             9   pursuant to the Court’s May 16, 2022 order; (2) an order directing Plaintiffs to show cause why

         10      this Court should not hold them in contempt, requiring them to pay a coercive sanction of $2,000

         11      per day, until Plaintiffs produce or otherwise make the licenses available as directed by the Court;

         12      and (3) an order directing Plaintiffs and/or Plaintiffs’ counsel to pay Netflix’s reasonable

         13      expenses, including attorney’s and expert fees, caused by their failure to comply with the Court’s

         14      May 16, 2022 order.

         15             This motion is made under Federal Rules of Civil Procedure 37, Civil Local Rules 7 and

         16      37-4, and the authorities cited herein. This motion is based on this Notice of Motion, the

         17      accompanying Memorandum of Points and Authorities, the Declaration of Michelle Ybarra, and

         18      accompanying exhibits, the complete files and records of this action, the arguments of counsel,

         19      and all other material that may properly come before the court or before the hearing on this

         20      Motion.

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             1                        MEMORANDUM OF POINTS AND AUTHORITIES

             2          It is axiomatic that “[c]ompliance with court orders is not optional.” Dae Sung Hi Tech

             3   Co. v. GThunder, Ltd., 2019 WL 8884093, at *1 (C.D. Cal. June 24, 2019). Yet nearly a month

             4   after this Court ordered Plaintiffs to schedule a time for Netflix’s expert and counsel to review

             5   Plaintiffs’ 2,400 licenses to the Patents-in-Suit, they still have not complied. See Dkt. 212.

             6   Instead, Plaintiffs conditioned their compliance with the Court’s order on Netflix’s agreement to

             7   an unnecessary and onerous review protocol that purports to dictate all aspects of Netflix’s

             8   review, down to the specific information that Netflix’s counsel and expert may record in their

             9   notes. These restrictions were not proposed by Plaintiffs at the May 16, 2022 hearing; nor do they

         10      appear anywhere in the Court’s May 16, 2022 order. When Netflix declined to agree to them,

         11      Plaintiffs failed to appear for a meet and confer and refused to allow Netflix access to the licenses

         12      at all, turning away Netflix’s counsel and expert representative when they showed up for review.

         13             Plaintiffs’ violation of the Court’s order is inexcusable. Indeed, Plaintiffs’ only purported

         14      justification for requiring Netflix to review the licenses at their counsel’s offices rested on the

         15      licenses’ notice requirements, which Plaintiffs claim prevent them from producing the licenses

         16      without first notifying third-party licensees. Even though Plaintiffs concede that the licenses

         17      cover the Patents-in-Suit—and therefore should have been produced along with Plaintiffs’

         18      January 5, 2021 infringement contentions pursuant to Patent Local Rule 3-2—Plaintiffs

         19      apparently never made any effort to notify third-parties that the licenses must be provided in

         20      discovery.

         21             At the May 16 hearing, Plaintiffs represented to the Court that all of Plaintiffs’ 2,400

         22      licenses were subject to these notice requirements, and that because Plaintiffs had failed to

         23      provide notice to third-parties, Netflix must review the licenses at Plaintiffs’ counsel’s office. See

         24      Decl. of Michelle Ybarra in Supp. of Def.’s Mot. for R. 37 Sanctions (“Ybarra Decl.”), Ex. C at

         25      69:22–25 (“All these licenses require notice letters to be sent to the third party saying that we’re

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             1   going to produce their – the confidential license agreement to Netflix.”). 1 Eager to review

             2   Plaintiffs’ licenses and in the interest of avoiding further dispute, Netflix agreed to conduct the

             3   review at Plaintiffs’ counsel’s office. Plaintiffs neither raised nor requested that the Court impose

             4   any additional restrictions on Netflix’s review, and the Court ordered Plaintiffs to schedule the

             5   review by no later than May 23, 2022. See Dkt. 212.

             6           Plaintiffs failed to do so. Instead, they refused to provide Netflix access to their licenses

             7   absent Netflix’s agreement to onerous and unnecessary review restrictions that were nearly

             8   identical to those imposed by Magistrate Judge Payne in CA v. Netflix, a separate case concerning

             9   different patents brought by Broadcom’s affiliates in the Eastern District of Texas. The

         10      restrictions on Netflix’s review of Plaintiffs’ licenses in that case were imposed over Netflix’s

         11      objection and required Netflix’s counsel and expert to review the licenses without the assistance

         12      of pen, paper, access to their case notes, or any other work product, among other things. The

         13      resulting review was burdensome, costly, and inefficient.

         14              Even though Plaintiffs never requested or moved this Court to order those same

         15      restrictions here, Plaintiffs refused to comply with the Court’s May 16 order unless Netflix agreed

         16      to a similar protocol in this case. When Netflix objected, Plaintiffs canceled the review and

         17      denied Netflix’s counsel and expert access to the licenses. Plaintiffs argued that even though the

         18      Court’s order is silent on this issue, the restrictions are inherent. Not so. 2 In any event, Plaintiffs

         19      did not move for a protective order or request that the Court clarify its order. Instead, they
         20      engaged in self-help and opted to willfully disobey the Court’s directive. The prejudice to Netflix

         21      is manifest; Plaintiffs’ refusal to comply with the May 16 order has delayed Netflix’s damages

         22      analysis and development of its patent misuse defense. Plaintiffs must not be allowed to violate

         23      the Court’s order with impunity.

         24      1
                   Plaintiffs’ counsel recently admitted that this statement was false, conceding that he had no idea
                 whether all the licenses are subject to the notice requirements Plaintiffs described at the hearing.
         25      See Ybarra Decl., Ex. M at 9:3–7.
                 2
         26        Netflix agreed that its reviewers would not print, copy, download, or remove any of Plaintiffs’
                 licenses, and that Plaintiffs’ licenses and any notes taken by Netflix’s counsel and expert about
         27      the licenses would be designated HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                 under the Stipulated Protective Order. Ybarra Decl., Ex. J. Plaintiffs rejected Netflix’s proposal
         28      and continue to deny Netflix access to the licenses.
                                                                     3
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             1             Accordingly, Netflix respectfully asks the Court to (1) order Plaintiffs to produce Bates-

             2   stamped copies of all licenses to the Patents-in-Suit, or, alternatively, to make the licenses

             3   available for Netflix’s review without the unnecessary and unwarranted review restrictions

             4   Plaintiffs seek to impose; (2) hold Plaintiffs in contempt, requiring them to pay a coercive

             5   sanction of $2,000 per day until Plaintiffs produce or otherwise make the licenses available as

             6   directed by the Court; and (3) order Plaintiffs and/or their counsel to pay Netflix’s reasonable

             7   expenses caused by their failure to comply with the Court’s order.

             8   I.        BACKGROUND
             9             A.     Plaintiffs improperly withhold licenses to the Patents-in-Suit for over a year
         10                Plaintiffs filed this suit on March 20, 2020, in the District Court for the Central District of

         11      California, and on July 10, 2020, the Honorable James V. Selna ordered the case transferred to

         12      this Court. See Dkts. 1, 62. On January 5, 2021, Plaintiffs served their disclosure of asserted

         13      claims and infringement contentions pursuant to Patent Local Rule 3-1. Plaintiffs were required to

         14      provide all licenses to the Patents-in-Suit by the same date. See Patent L.R. 3-2 (requiring a patent

         15      plaintiff to produce or provide “all agreements, including licenses, transferring an interest in any

         16      patent-in-suit”). But Plaintiffs’ January 5, 2021 document production did not include all licenses

         17      to the Patents-in-Suit. Ybarra Decl. ¶ 2. In fact, Plaintiffs did not produce any licenses until July

         18      21, 2021, and even then only after Netflix sought a meet-and-confer with Plaintiffs over their

         19      deficient production. Id. ¶ 3. Plaintiffs’ July 21, 2021 production included only fourteen license

         20      agreements. Id. Plaintiffs did not inform Netflix that they were withholding any licenses to the

         21      Patents-in-Suit, let alone thousands of licenses. Id.

         22                On September 8, 2021, the parties conferred over Netflix’s discovery requests, including

         23      Netflix’s May 27, 2021 request for production of portfolio licenses covering the Patents-in-Suit.

         24      Id., ¶¶ 4 & 5. Plaintiffs objected to the production of portfolio licenses as irrelevant and

         25      burdensome, and refused to supplement their production except as to two portfolio licenses. 3 Id.,

         26      ¶ 5. At no point during the conference did Plaintiffs inform Netflix that they continued to

         27
                 3
         28          To date, Plaintiffs still have not produced these two licenses. Ybarra Decl. ¶ 5.
                                                                      4
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             1   withhold thousands of licenses to the Patents-in-Suit or that the burden they complained of

             2   concerned compliance with third-party notice requirements contained in the licenses. Id.

             3          B.      Plaintiffs refuse to produce licenses in a separate, unrelated action and
                                impose onerous restrictions on Netflix’s review
             4
                        Netflix only learned the scope of Plaintiffs’ withheld portfolio licenses months later, hours
             5
                 before a November 12, 2021 hearing in CA, Inc. et al. v. Netflix, Inc., Case No. 2:21-cv-00080-
             6
                 JRG-RSP (E.D. Tex. filed Mar. 9, 2021), a separate action involving different patents in the
             7
                 Eastern District of Texas (the “Texas Action”). Ybarra Decl. ¶ 6. At the hearing, Magistrate Judge
             8
                 Payne heard argument on Netflix’s motion to compel production of licenses, and Plaintiffs’
             9
                 counsel explained that they were in possession of thousands of licenses to the patents asserted in
         10
                 the Texas Action, but that the licenses could not be produced because the third-party licensees
         11
                 must first be notified pursuant to confidentiality provisions contained in the licenses. Id.
         12
                 Critically, Plaintiffs argued that the imminent close of fact discovery, just two weeks away, made
         13
                 Plaintiffs’ compliance with the notice provisions impractical. Id.
         14
                         Instead, Plaintiffs argued that Netflix should be required to review the licenses on secure
         15
                 computers in Plaintiffs’ counsel’s office under source code review-like conditions. The Court
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                 granted Plaintiffs’ request over Netflix’s objection. Id., Ex. A at 2. The restrictions requested by
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                 Plaintiffs required Netflix’s counsel and expert to conduct the review without the use of pen,
         18
                 paper, access to their cell phones, laptops, case notes or work product. Id. ¶ 7. On the first day of
         19
                 review, Plaintiffs’ counsel accused Netflix of violating the protocol because Netflix’s expert
         20
                 brought a piece of paper reflecting the numbers of the asserted patents into the review room. Id.
         21
                 Plaintiffs even dictated the specific, narrow categories of information Netflix’s counsel and expert
         22
                 could record, such as the license date, form of license and ranking or relevance; and Plaintiffs
         23
                 insisted that those notes be entered into a Microsoft Excel document which could not leave the
         24
                 review room. Id. These restrictions ensured that the review was cumbersome, costly, and slow.
         25
                 Netflix completed its review of the licenses in the Texas Action on December 3, 2021. Id. At that
         26
                 point, Netflix’s requests for Plaintiffs’ licenses to the Patents-in-Suit in this case had been
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                 pending for 10 months. Netflix’s requests are still pending. Id.
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                                                                    5
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             1          C.       Plaintiffs refuse to allow Netflix to review licenses to the Patents-in-Suit, in
                                 violation of the Court’s May 16 order
             2
                        On May 16, 2022, following the Markman hearing in this case, the Court addressed a
             3
                 number of pending discovery disputes between the parties, including Plaintiffs’ failure to produce
             4
                 licenses to the Patents-in-Suit. Id. ¶ 8. During discussion with the Court, Plaintiffs’ counsel
             5
                 conceded that
             6
                        We have thousands of portfolio-wide licenses [to the Patents-in-Suit] . . .
             7          All these licenses require notice letters to be sent to the third party saying
                        that we’re going to produce their – the confidential license agreement to
             8          Netflix. 2,400 licenses, Your Honor, I believe was the number.

             9   Id., Ex. C at 69:14–70:1 (emphasis added). Plaintiffs’ counsel went on to describe the review

         10      ordered by Magistrate Judge Payne in the Texas Action:

         11             So what we did in that particular case, with the approval of the court was,
                        we made -- we made those licenses available for inspection and review on
         12             a computer in -- at a location of Netflix’s choosing, which was our New
                        York office, and – and invited them, their expert, to come in and review the
         13             licenses and identify which licenses they believed were -- were relevant
                        and they wanted produced. And then we turned around and sent out the
         14             notice letters and produced those.

         15      Id. at 70:2–10. Following Plaintiffs’ counsel’s explanation, the Court asked Netflix’s counsel:

         16             The Court: What I’m hearing, though, is someone will go and look at the
                        portfolio and pick the ones you want. Is that what you want to do?
         17
                        Netflix’s counsel: We’re absolutely glad to do that and it’s fairly urgent.
         18
                        The Court: Let’s do that.
         19
                 Id. at 72:1–6. Plaintiffs did not ask the Court to impose any specific restrictions on Netflix’s
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                 review of the licenses, nor did the Court do so sua sponte. Immediately following the hearing, the
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                 Court issued a minute order, directing Plaintiffs to “schedule by May 23, 2022, a time for
         22
                 Netflix’s expert and one attorney to review, at plaintiffs’ counsel’s office in San Francisco,
         23
                 Broadcom’s licenses.” Id., Ex. B.
         24
                        Netflix promptly arranged for its damages expert and counsel to arrive at Plaintiffs’
         25
                 counsel’s San Francisco office to begin review. Id. ¶ 9. But on May 18, 2022, just prior to
         26
                 Plaintiffs’ deadline for compliance with the order, Plaintiffs sent Netflix a draft “review protocol”
         27
                 nearly identical to the one imposed in the Texas Action over Netflix’s objection. Id., Ex. D.
         28
                                                                   6
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             1   Netflix objected that the Court’s May 16 order did not contain any of the restrictions Plaintiffs

             2   sought to belatedly impose but noted that the Stipulated Protective Order provided ample existing

             3   protection for confidential information. Id., Exs. E & F. Plaintiffs refused to allow Netflix to

             4   begin review, claiming that the restrictions Plaintiffs sought to impose were “entirely consistent

             5   with the discussion during [the May 16] hearing.” Id., Ex. G. On May 23, 2022, Netflix

             6   confirmed its agreement to treat all of Plaintiffs’ licenses as HIGHLY CONFIDENTIAL –

             7   ATTORNEYS’ EYES ONLY and not to copy or download the licenses, consistent with the

             8   guidance provided by the Court at the May 16, 2022 hearing. Id., Ex. J. Netflix also appeared for

             9   a meet and confer that same morning at Plaintiffs’ request, but Plaintiffs did not bother to show

         10      up. Id. ¶¶ 14 & 15, Ex. H. Instead, they sent an email proclaiming that the parties “do not need to

         11      meet and confer on the license issue today” because “[t]he transcript of the May 16 hearing

         12      confirms that the license review should be conducted under a procedure to protect third-party

         13      confidential information as in the Texas case.” Id., Ex. I. Plaintiffs’ counsel also confirmed that

         14      “neither Netflix’s attorneys nor expert will be allowed in Holland & Knight’s offices” until

         15      Netflix agreed to Plaintiffs’ review restrictions. Id., Ex. J. On May 24, 2022, Netflix’s counsel

         16      and a representative of Netflix’s damages expert arrived at Plaintiff’s counsel’s San Francisco

         17      office to begin review as planned and were denied entry. Id. ¶ 17.

         18               Despite Plaintiffs’ intransigence, Netflix continued to seek Plaintiffs’ compliance with the

         19      Court’s May 16 order without motion practice. On June 6, 2022, Netflix proposed a formal

         20      review protocol memorializing additional protections aimed at addressing Plaintiffs’ third-party

         21      confidentiality concerns. See Id., Ex. K. Netflix again invited Plaintiffs to meet and confer about

         22      the license review on June 7, 2022. Id. At the June 7 conference, Plaintiffs rejected Netflix’s

         23      proposed review protocol, and confirmed they would not allow Netflix to review Plaintiffs’

         24      licenses absent Netflix’s agreement to additional, unnecessary restrictions. Id. ¶ 18, Exs. L & M.

         25      This motion follows.

         26      II.      LEGAL STANDARD
         27                “Compliance with court orders is not optional.” Dae Sung, 2019 WL 8884093, at *1. Nor

         28      is there a “good faith exception” to a party’s duty to obey a court order. In re Dual-Deck Video
                                                                   7
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             1   Cassette Antitrust Lit., 10 F.3d 693, 695 (9th Cir. 1993). When a litigant disobeys a discovery

             2   order, Rule 37(b)(2)(A) authorizes a Court to sanction that party by issuing “just orders,”

             3   including, for example, an order treating the failure to obey as contempt of court. The exemplary

             4   “just orders” identified in Rule 37(b)(2)(A) “are not intended to constitute an exhaustive list of

             5   the orders a judge may issue as sanctions.” Edwards Lifesciences Corp. v. Meril Life Scis. Pvt.

             6   Ltd., 2022 WL 566792, at *1 (N.D. Cal. Jan. 14, 2022) (cleaned up). Rather, the Court has broad

             7   discretion to fashion sanctions for violation of a discovery order, provided that the order is “just”

             8   and “specifically related to the particular ‘claim’ which was at issue in the order to provide

             9   discovery.” Ins. Corp. of Ireland, Ltd. v. Compagnie des Beauxites de Guinee, 456 U.S. 694, 707

         10      (1982). 4 Where a party disobeys a discovery order without substantial justification, monetary

         11      sanctions are also warranted. See Fed. R. Civ. P. 37(b)(2)(C); LegalForce RAPC Worldwide P.C.

         12      v. Demassa, 2019 WL 5395038, at *4 (N.D. Cal. Oct. 22, 2019).

         13      III.     ARGUMENT
         14               A.      Plaintiffs disobeyed the Court’s May 16 order
         15               It is beyond dispute that the Court ordered Plaintiffs to “schedule by May 23, 2022, a time

         16      for Netflix’s expert and one attorney to review, at plaintiff’s counsel’s office in San Francisco,

         17      Broadcom’s licenses.” Ybarra Decl., Ex. B. It is also beyond dispute that Plaintiffs failed to do so.

         18      These facts alone are sufficient to establish that Plaintiffs disobeyed the Court’s May 16 order.

         19               Plaintiffs’ sole justification for their violation is their contention that “[t]he transcript of
         20      the May 16 hearing confirms that the license review should be conducted under a procedure to

         21      protect third-party confidential information as in the Texas case.” Id., Ex. I. That position is

         22      belied by the record. The May 16, 2022 hearing transcript shows that the Court never once

         23      referenced the review protocol ordered by Magistrate Judge Payne in the Texas Action, let alone

         24      ordered Netflix to abide by it. In fact, the terms of the Texas protocol were not discussed at all

         25      during the May 16 hearing.

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         27        See also Dahl v. City of Huntington Beach, 84 F.3d 363, 367 (9th Cir. 1996); Valley Eng’s Inc.
                 v. Elec. Eng’g Co., 158 F.3d 1051, 1056 (9th Cir. 1998) (“[T]he central factor in evaluating the
         28      district court order is justice[.]”).
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             1           Rather, at the hearing, the Court questioned the validity of Plaintiffs’ concerns about third-

             2   party confidentiality, given that Netflix could “not to copy, download, or anything else,” Id., Ex.

             3   C at 72:24–25, consistent with the parties’ March 15, 2021 Stipulated Protective Order, Dkt. 105.

             4   The Court neither ordered nor even suggested the draconian and unnecessary restrictions on

             5   review imposed in the Texas Action; nor did Plaintiffs ever request the Court apply those

             6   restrictions in this case. In fact, Netflix informed Plaintiffs that the restrictions imposed in the

             7   Texas Action were inapplicable in this case on May 20—three days before Plaintiffs’ compliance

             8   with the Court’s order was due. Ybarra Decl., Ex. E. Netflix’s counsel also informed Plaintiffs

             9   that any confidential information contained in the licenses was already protected by the terms of

         10      the Stipulated Protective Order entered in this case. Id., Ex. F, J. Plaintiffs had ample time to seek

         11      a protective order, or at the very least to ask the Court for clarification, before compliance was

         12      required. They failed to do so. See HRC-Hainan Holding Co., LLC v. Yihan Hu, 2020 WL

         13      1643786, at *3 (N.D. Cal. Apr. 2, 2020) (issuing sanctions and holding party in contempt because

         14      “[t]he timing of their stay motion unavoidably put them in violation of the February 25 order, and

         15      that could have been prevented by moving for a stay promptly”).

         16              B.      The Court should order Plaintiffs to produce Bates-stamped copies of the
                                 licenses
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                         Where a party has shown “continued delay” and “obvious disregard” for a court’s orders,
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                 sanctions under Rule 37 are appropriate. Ins. Corp. of Ireland, 456 U.S. at 707–08. Indeed, courts
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                 routinely invoke their Rule 37 authority by ordering disobeying parties to produce withheld
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                 documents in short order. See e.g., Edwards Lifesciences Corp., 2022 WL 566792, at *4 (ordering
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                 production of medical records within 7 days); Microsoft Corp. v. Hon Hai Precision Indus. Co.,
         22
                 2020 WL 8991669, at *3 (N.D. Cal. Feb. 12, 2020) (ordering production of damages-related
         23
                 documents within 14 days); Garcia v. Bana, 2012 WL 2119157, at *10 (N.D. Cal. June 9, 2012)
         24
                 (ordering supplemental document production of documents within 5 days). Here, the Court
         25
                 should dispense with Plaintiffs’ unnecessary and improper review protocol, and order Plaintiffs to
         26
                 produce Bates-stamped copies of the licenses to Netflix by a date-certain. This relief is necessary
         27
                 and appropriate for at least the following reasons.
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             1            First, Plaintiffs have withheld licenses to the Patents-in-Suit for over sixteen months, even

             2   though they were required to provide the licenses pursuant to Patent Local Rule 3-2 in January

             3   2021. 5 At the May 16 hearing, Netflix readily agreed to conduct its license review at Plaintiffs’

             4   counsel’s office in the interests of compromise and to prevent further delay. But Plaintiffs’ willful

             5   violation of the Court’s May 16 order has forfeited any entitlement to this compromise position.

             6   In any event, courts in this District and others regularly hold that third-party confidentiality

             7   concerns are no justification for withholding licenses to the asserted patents. See France Telecom,

             8   S.A. v. Marvell Semiconductor, Inc., 2013 WL 12145894, at *1 (N.D. Cal. Sept. 6, 2013)

             9   (overruling patentee’s objection to the production of licenses in light of third-party

         10      confidentiality concerns and compelling production); Wyeth v. Orgenus Pharma Inc., 2010 WL

         11      4117157, at *4 (D.N.J. Oct. 19, 2010) (“The Court notes that other courts have routinely

         12      recognized that license agreements relating to the patent-in-suit, and entered into in connection

         13      with settlement, are discoverable and that Plaintiff’s third party confidentiality concerns do not

         14      outweigh legitimate grounds to compel production.”); Phoenix Sols. Inc. v. Wells Fargo Bank,

         15      N.A., 254 F.R.D. 568, 583 (N.D. Cal. 2008) (overruling patentee’s objection to the production of

         16      license negotiation materials in light of third-party confidentiality concerns and compelling

         17      production).

         18               Second, Plaintiffs’ violation of the Court’s order has denied Netflix’s access to evidence

         19      critical to its damages case and patent misuse defense. Plaintiffs contend that the licenses are

         20      irrelevant, see Ex. C at 69:14–16, but that position is without merit. Juries may determine a

         21      reasonable royalty “based . . . on the royalty to which a willing licensor and a willing licensee

         22      would have agreed at the time the infringement began,” which requires them to look at licenses

         23      that “involve[] comparable technology, [are] economically comparable, and arise[] under

         24      comparable circumstances.” Bio-Rad Lab’ys v. 10X Genomics, Inc., 967 F.3d 1353, 1372–73

         25      (Fed. Cir. 2020) (quoting Radio Steel & Mfg. Co. v. MTD Prods., Inc., 788 F.2d 1554, 1557 (Fed.

         26
                 5
         27        Notably, Local Rule 3-2 requires a patent plaintiff to produce or provide licenses to the Patents-
                 in-Suit contemporaneously with disclosure of the patentee’s infringement contentions. Nothing in
         28      the Rule excuses compliance in light of third-party confidentiality.
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             1   Cir. 1986)). But comparable does not mean identical. In fact, the Federal Circuit has held on

             2   multiple occasions that the “degree of comparability of the license agreements is a ‘factual issue[]

             3   best addressed by cross examination and not by exclusion.’” Id. at 1374 (quoting ActiveVideo

             4   Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312 (Fed. Cir. 2012); see also Ericsson, Inc.

             5   v. D-Link Sys., Inc., 773 F.3d 1201, 1227 (Fed. Cir. 2014) (“[T]he fact that a license is not

             6   perfectly analogous generally goes to the weight of the evidence, not its admissibility.”).

             7   Moreover, of the licenses that Plaintiffs produced to Netflix in 2021, several are portfolio licenses

             8   that do not specifically identify the Patents-in-Suit, and are therefore indistinguishable from the

             9   2,400 licenses that Plaintiffs contend are irrelevant. 6 Plaintiffs cannot cherry-pick and produce the

         10      portfolio licenses that they deem supportive of their case while denying Netflix access to the

         11      others.

         12                Third, Plaintiffs’ failure to comply with the Court’s order has further delayed and

         13      prejudiced Netflix’s ability to prepare its case for trial. Specifically, Plaintiffs’ violation of the

         14      Court’s order has delayed Netflix’s damages analysis and development of its patent misuse

         15      defense. Plaintiffs have conditioned at least one license to the Patents-in-Suit on the licensee’s

         16      payment of certain fees and the purchase of certain products that are unrelated to the subject

         17      matter within the scope of the patent’s claims. Such tying arrangements are per se unlawful and

         18      constitute patent misuse. See Va. Panel Corp. v. MAC Panel Co., 133 F.3d 860, 869 (Fed. Cir.

         19      1997). Netflix is entitled to review Plaintiffs’ licenses in order to identify any other unlawful

         20      tying arrangements Plaintiffs entered into.

         21                Finally, Plaintiffs’ sole justification for requiring Netflix to conduct in-office review of

         22      the licenses rather than producing Bates-stamped copies is a problem of their own making. The

         23      Patent Local Rules made clear from the start of the case that the licenses are relevant and

         24      discoverable. Nevertheless, over the last sixteen months, Plaintiffs apparently made no effort to

         25      comply with the third-party notice requirements that they now claim prohibit production. Worse,

         26
                 6
                  Plaintiffs’ counsel represented to the Court that “for all of licenses that specifically named any
         27      of the patents in this lawsuit . . .all of those licenses have been produced in this case long ago,”
                 but “[i]t’s the broader set of portfolio-wide licenses” that were not. Ybarra Decl., Ex. C at 70:16-
         28      71:2.
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             1   Plaintiffs’ counsel’s recent comments during the June 7 meet and confer reveal that Plaintiffs

             2   have not even bothered to confirm that all the licenses require notice to third-party licensees prior

             3   to production, even though counsel represented this was so to the Court. Compare Ybarra Decl.,

             4   Ex. C at 69:22–25 (“All these licenses require notice letters to be sent to the third party saying

             5   that we’re going to produce their – the confidential license agreement to Netflix.”) with Id., Ex. M

             6   at 9:3–7 (“I haven’t studied every single one of them to know whether they all do, but the vast

             7   majority [of the licenses] are going to contain requirements of notice to the third parties before

             8   production of the information.”).

             9          Accordingly, the Court should order Plaintiffs to produce Bates-stamped copies of the

         10      licenses with appropriate designations under the Stipulated Protective Order, which is more than

         11      sufficient to protect any third-party confidentiality interests potentially at issue. See, e.g., France

         12      Telecom, 2013 WL 12145894, at *1. Alternatively, the Court should order Plaintiffs to comply

         13      with the Court’s May 16 order and make the licenses available for Netflix’s immediate review,

         14      without any additional restrictions.

         15             C.      The Court should hold Plaintiffs in contempt until they comply and award
                                Netflix’s reasonable expenses
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                        The Court should also hold Plaintiffs in contempt for their ongoing violation of the
         17
                 Court’s May 16 order and require them to pay $2,000 per day until they comply with any relief
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                 the Court orders following this motion. “Contempts such as failure to comply with document
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                 discovery, for example . . . touch upon the core justification for the contempt power.” Int’l Union
         20
                 United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 833 (1994). “Where the purpose of a civil
         21
                 contempt sanction is to coerce good faith efforts to comply with a discovery request, contempt is
         22
                 proper.” Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1480 (9th Cir. 1992).
         23
                 Courts in this district routinely hold parties in contempt for ongoing violations of discovery
         24
                 orders, often imposing daily sanctions until the parties can show compliance. See e.g., Snowflake
         25
                 Inc. v. Yeti Data, Inc., 2021 WL 1056550, at *9 (N.D. Cal. Mar. 18, 2021) ($10,000 per day);
         26
                 HRC-Hainan Holding Co., 2020 WL 1643786, at *5 ($2,000 per day). Here, coercive sanctions
         27
                 are particularly warranted in light of Plaintiffs’ years-long failure to abide by their discovery
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             1   obligations and willful disobedience of the Court’s May 16 order. Plaintiffs have demonstrated

             2   that nothing short of contempt will compel compliance with their discovery obligations.

             3              Likewise, the Court should order Plaintiffs to reimburse Netflix for all reasonable

             4   expenses caused by Plaintiffs’ failure to obey the May 16 order because Plaintiffs’ failure was not

             5   substantially justified. See Fed. R. Civ. P. 37(b)(2)(C). 7 Plaintiffs’ failure to comply with the May

             6   16 order is inexcusable. As discussed above, though Plaintiffs contend their refusal to make the

             7   licenses available for Netflix’s review was motivated by third-party confidentiality concerns, the

             8   protections provided by the Stipulated Protective Order are more than sufficient to address

             9   Plaintiffs’ concerns. Moreover, Netflix agreed to designate the licenses and any of Netflix’s

         10      counsel’s or expert’s notes about the licenses as HIGHLY CONFIDENTIAL – ATTORNEYS’

         11      EYES ONLY. See Ybarra Decl., Ex. J. Netflix further agreed that its counsel and experts would

         12      not print, copy, download, remove, or otherwise transfer the licenses onto any recordable media

         13      or device. Id. If Plaintiffs believed further restrictions on Netflix’s review were required, they

         14      were obligated to seek a protective order or guidance from the Court before compliance was due.

         15      They did not. Instead, Plaintiffs attempted to unilaterally impose draconian review restrictions on

         16      Netflix, and when Netflix objected, Plaintiffs denied Netflix access to critical discovery, forcing

         17      Netflix to bring this motion. Accordingly, the Court should order Plaintiffs to reimburse Netflix

         18      for any expenses, including attorney’s fees, caused by their failure to comply with the May 16

         19      order. 8

         20      IV.        CONCLUSION
         21                 For the reasons stated herein, Netflix respectfully asks the Court to (1) order Plaintiffs to

         22      produce Bates-stamped copies of all licenses to the Patents-in-Suit; (2) hold Plaintiffs in

         23      contempt, requiring them to pay a coercive sanction of $2,000 per day, until they produce or

         24
                 7
                   See also Microsoft, 2020 WL 8991669, at *5 (awarding reasonable expenses, including
         25      attorney’s fees, caused by party’s failure to comply with discovery order); HRC-Hainan Holding
                 Co., 2020 WL 1643786, at *4-5 ($24,931 in reasonable expenses); Ennova Rsch. SRL v. Beebell
         26      Inc., 2019 WL 285797, at *3 (N.D. Cal. Jan. 22, 2019) (awarding $7,539.18 in reasonable
                 expenses).
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                   Upon the Court’s request, Netflix will provide the Court a fees declaration detailing the
         28      reasonable expenses necessitated by Plaintiffs’ violation of the May 16 order.
                                                                  13
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             1   otherwise make the licenses available as directed by the Court; and (3) order Plaintiffs and/or

             2   Plaintiffs’ counsel to pay Netflix’s reasonable expenses, including attorney’s and expert fees,

             3   caused by their failure to comply with the Court’s May 16 order.

             4

             5                                                Respectfully submitted,

             6   Dated: June 13, 2022                                   KEKER, VAN NEST & PETERS LLP

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